            Case 3:19-mj-05094-AGS Document 1 Filed 11/15/19 PageID.1 Page 1 of 18
AO 106 (Rev . 04/ 10) Application for a Search Warrant



                                        UNITED STATES DISTRICT Cou T                                               NOV 15 2019
                                                                     for the
                                                         Southern District of California                   CL.c °'1 1'i US 0127 RICT COUR T
                                                                                                      SO UtH!:::1'1N OISTPilC r Or C.!\L:FOR NI A
                                                                                                      BY                                DEPUTY'
              In the Matter of the Search of                            )
         (Briefly describe the property to be searched                  )
          or identify the person by name and address)
                       Galaxy Note 9
                                                                        )
                                                                        )
                                                                                    Case No.   1 9 MJ 5 Q 9 4
          Seized as FP&F No. 2019-2540-001958                           )
                     ("Target Device")                                  )

                                               APPLICATION FOR A SEARCH WARRANT
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location) :

  See Attachment A, incorporated herein by reference
located in the               Southern              District of              California           , there is now concealed (identify the
person or describe the property to be seized): ·

 See Attachment B, incorporated herein by reference

           The basis for the search under Fed. R. Crim. P. 4 l(c) is (check one or more):
                  ~ evidence of a crime;
                  0 contraband, fruits of crime, or other items illegally possessed;
                  0 property designed for use, intended for use, or used in committing a crime;
                  0 a person to be arrested or a person who is unlawfully restrained.

           The search is related to a violation of:
              Code Section                                                          Offense Description

        21 U.S .C. §§ 952 and 960                   Importation of Methamphetamine and Cocaine

           The application is based on these facts:
         See attached Affidavit of Special Agent Justin Trujillo

           M Continued on the attached sheet.
            0 Delayed notice of _ _ days (give exact ending date if more than 30 days: _ _ _ _ _ ) is requested
              under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.
                                                                                         ./


                                                                                   SA Justin Trujillo, Dep't of Homeland Security
                                                                                                Printed name and title

Sworn to before me and signed in my presence.


Date:
                                                                                                                          -
City and state: San Diego, CA                                                Hon. Andrew G. Schopler, United States Magistrate Judge
                                                                                                Printed name and title
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                                ATTACHMENT A

                          PROPERTY TO BE SEARCHED

The following property is to be searched:

      Galaxy Note 9
      Seized as FP&F No. 2019-2540-001958
      (the "Target Device")

The Target Device is currently in the possession of Homeland Security Investigations,
9495 Customhouse Plaza, San Diego, CA 92154.
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                                  ATTACHMENT B

                                ITEMS TO BE SEIZED

      Authorization to search the cellular telephone described in Attachment A
includes the search of disks, memory cards, deleted data, remnant data, slack space, and
temporary or permanent files contained on or in the cellular telephone for evidence
described below. The seizure and search of the cellular telephone shall follow the
search methodology described in the affidavit submitted in support of the warrant.

      The evidence to be seized from the cellular telephone will be electronic records,
communications, and data such as emails, text messages, chats and chat logs from
various third-party applications, photographs, audio files, videos, and location data, for
the period of July 3, 2019 through August 3, 2019:

      a.     tending to indicate efforts to import methamphetamine, or some other
             federally controlled substance, from Mexico into the United States;

      b.     tending to identify accounts, facilities, storage devices, and/or services-
             such as email addresses, IP addresses, and phone numbers-used to
             facilitate the importation of methamphetamine, or some other federally
             controlled substance, from Mexico into the United States;

      c.     tending to identify co-conspirators, criminal associates, or others involved
             in importation of methamphetamine, or some other federally controlled
             substance, from Mexico into the United States;

      d.     tending to ·identify travel to or presence at locations involved in the
             importation of methamphetamine, or some other federally controlled
             substance, from Mexico into the United States, such as stash houses, load
             houses, or delivery points;

      e.     tending to identify the user of, or persons with control over or access to,
             the Target Device; and/or

      f.     tending to place in context, identify the creator or recipient of, or establish
             the time of creation or receipt of communications, records, or data involved
             in the activities described above;

which are evidence of violations of Title 21, United States Code, Sections 952 and 960.
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 1                                         AFFIDAVIT
 2         I, Justin Trujillo, Special Agent with the United States Department of Homeland
 3 II Security (DHS), Immigration and Customs Enforcement (ICE), Homeland Security
 4 II Investigations (HSI), being duly sworn, hereby state as follows:
 5                                     INTRODUCTION
 6         1.     I am a Special Agent (SA) with Immigration and Customs Enforcement
 7 II (ICE), Homeland Security Investigations (HSI).        I am the case agent investigating
 8 II Sheena HANSCEL         and   other unknown         co-conspirators   for   importation of
 9 II methamphetamine and cocaine from Mexico into the United States on or about August
10112,2019.
11         2.     On or about September 26, 2019, I applied for and obtained warrants to
12 II search the following items:
                         Apple iPhone
13
                         Seized as FP&F No. 2019-2540-001958
14                       (Target Device);
15 II and seize evidence of crimes, specifically, violations of Title 21, United States Code,
16 II Section(s) 952 and 960. A copy of the applications and affidavits in support of the
17 II search warrants, which I signed and swore to before U.S. Magistrate Judge F.A. Gossett
18 II and which was filed as Case Nos. 19-MJ-4164, are attached to this affidavit and
19 II incorporated by reference (hereinafter, the Applications or Warrants).
20         3.     When Forensics Agents went to service the Warrant, it was noted that
21 II Target Device was not an Apple iPhone but a Galaxy Note 9.
22         4.     When the Forensics Agent discovered this error, he immediately contacted
23 11 me and notified me of the discrepancy. He advised that no work had been performed.
24         5.     I believe I made this error because I was doing a warrant for another case
25 II and left the wrong phone listed for the warrant.
26         6.     For the reasons set forth above and in the Applications, I hereby request
27 II that the court issue a warrant authorizing law enforcement agents and/or other federal
28 II and state law enforcement officers to search the item described in Attachments A, and

                                                 1
        Case 3:19-mj-05094-AGS Document 1 Filed 11/15/19 PageID.5 Page 5 of 18



 1 II seize the items listed in Attachment B, using the methodology described in the
 2 II Applications.
 3         I swear the foregoing is true and correct to the best 9f my knowledge and belief.
 4
 5
                                             ustin Trujillo
 6
                                            Special Agent
 7                                          Homeland Security Investigations
 8                                          Department of Homeland Security

 9 II Subscribed and sworn to before me this - ---    15~-aay        of November, 2019.
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AO I 06 (Rev. 04/10) Application for a Search Warrant



                                       UNITED STATES DISTRICT
                                                                                                    OUlrT SEP 2 s 2019
                                                                     for the
                                                         Southern District of California
                                                                                                       CLl:: RK US DIS l'HIC I' COUHT
                                                                                                    SOUTHEHN DISTHIC I 01-' CAUFdRNIA
                                                                                                    BY                            OEPUTY
              In the Matter of the Search of                            )
         (Briefly describe the property to be searched                  )
          or identify the person by name and address)                   )           Case No.
                      Apple iPhone
         Seized as FP&F No. 2019-2540-001958
                                                                        )
                                                                        )
                                                                                                         s1if4J416li
                    ("Target Device")                                   )
                                                                                               .,                                   t
                                              APPLICATION FOR A SEARCH WARRANT                                                      -r
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):

  See Attachment A, incorporated herein by reference
located in the              Southern              District of               California               , there is now concealed (identify the
person or describe the property to be seized):

 See Attachment B, incorporated herein by reference

          The basis for the search under Fed'. R. Crim. P. 4 l(c) is (check one or more):
               ri/ evidence of a crime; ·
                 0 contraband, fruits of crime, or other items illegally possessed;
                 0 property designed for use, intended for use, or used in committing a crime;
                 0 a person to be arrested or a person who is unlawfully restrained.

          The search is related to a violation of:
             Code Section                                                           Offense Description

        21 U.S.C. §§ 952 and 960                   Importation of Methamphetamine and Cocaine

          The application is based on these facts :
        See attached Affidavit of Special Agent Justin Trujillo

           ~ Continued on the attached sheet.
           0 Delayed notice of _ _ days (give exact ending date if more than 30 days: _ _ _ _ _ ) is requested
             under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.




                                                                                   SA Justin Trujillo, Dep't of Homeland Security
                                                                                                    Printed name and title

Sworn to before nie and signed in my presence.


Date:            ,1~~ 11-c,,
City and state: San Diego, CA                                                    Hon. F.A. Gossett, United States Magistrate Judge
                                                                                                    Printed name and title




                                                                                                                      ....
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"i,




  1                                           AFFIDAVIT
  2           I, Special Agent Justin Trujillo, being duly sworn, hereby state as follows:
  3                                        INTRODUCTION
 4 II         1.    I submit this affidavit in support of an application for a wanant to search the
  5 II following electronic device(s):
  6 II                    Apple iPhone
  7                        Seized as FP&F No. 2019-2540-001958
 8                        ("Target Device")
 9 II as further described in Attachment A, and to seize evidence of crimes, specifically
10 II violations of Title 21, United States Code, Section(s) 952 and 960, as further described in
11 Attachment B.
12           2.     The requested warrant relates to the investigation and prosecution of Sheena
13 II HANSCEL ("Defendant") for importing approximately 60.5 kilograms (133.38 pounds) of
14 II methamphetamine and 10.12 kilograms (22.31 pounds) of cocaine from Mexico into the
15 II United States. See U.S. v. Hanscel, Case No. 19-cr-03360-BAS (S.D. Cal.) at ECF No. 1
16 II (Complaint). The Target Device is currently in the evidence vault located at 9495
1711 Customhouse Plaza, San Diego, CA 92154.
18 II        3.     The information contained in this affidavit is based upon my training,
19 II experience, investigation, and consultation with other members of law enforcement.
20 II Because this affidavit is made for the limited purpose of obtaining a search warrant for the
21 II Target Device, it does not contain all the information known by me or other agents ,
22 II regarding this investigation. All dates and times described are approximate.
23                                         BACKGROUND
24           4.     I am a Special Agent (SA) with the Department of Homeland Security (DHS),
25 II Immigration and Customs Enforcement (ICE), Homeland Security Investigations (HSI). I
2611 have been a Special Agent with HSI since October of 2010. I am currently assigned to the ,
27 II ICE/ HSI San Diego Office. I have completed approximately 24 weeks of intensive
28 II training in criminal investigations at the Federal Law Enforcement Training Center in

                                                   1
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 1 II Glynco, Georgia (2010-11). Because of my training and experience as a Special Agent, I
 2 II am familiar with federal criminal statues to include violations of Title 18, 21 and 8 of the
 3 II United States Code. Prior to being employed by ·HSI, I was in the United States Coast
 4 II Guard where I assisted in multiple narcotics seizures while.assigned to Coast Guard cutters.
                                      .                .
 5 II During my experience in law enforcement, I have had training in narcotics investigations.
 6 II I have pa1iicipated in numerous debriefings of informants who had personal knowledge
 7 II regarding narcotics trafficking. Additionally, I have had training in many aspects of drug
 8 II investigations including undercover operations; conducting surveillance, and an-ests.
 9         5.     Through my training, experience, and conversations with other members of '
10 II law enforcement, I have gained a working knowledge of the operational habits of narcotics
11 II traffickers, in particular those.who attempt to import narcotics into the United States from
1211 Mexico at Ports of Entry. I am aware that it is common practice for narcotics smugglers to
13 II work in concert with other individuals and to do so by utilizing cellular telephones. Because
1411 they are mobile, the use of cellular telephones permits narcotics traffickers to easily carry '
15 II out various tasks related to their trafficking activities, including, e.g., remotely monitoring
16 II the progress of their contraband while it is in transit, providing instmctions to drug couriers,
17 II warning accomplices about law enforcement activhy, and communicating with co-
18 II conspirators who are transporting narcotics and/or proceeds from narcotics sales.
19         6.     Based upon my training, experience, and consultations with law enforcement
20 II officers experienced in narc.otics trafficking investigations, and all the facts and opinions
21 II set forth in this affidavit, I know that cellular telephones (including their Subscriber
22 II Identity Module (SIM) card(s)) can and often do contain electronic evidence, including,
23 II for example, phone logs and contacts, voice and text communications, and data, such as
24 II emails, text messages, chats and chat logs from various third-pa1iy applications,
25 II photographs, audio files, videos, and location data. In paiiicular, in my experience and
26 II consultation with law enforcement officers experienced in narcotics trafficking ·
27 II investigations, I am aware that individuals engaged in dmg trafficking commonly store
28 II photos and videos on their cell phones that reflect or show co-conspirators and associates

                                                   2
          Case 3:19-mj-05094-AGS Document 1 Filed 11/15/19 PageID.9 Page 9 of 18




 1 II engaged in drug trafficking; as well as images and videos of drugs or contraband, proceeds,
 2 and assets from drug trafficking, and communications to and from recruiters and
 3 organizers.
 4              7.     This info1mation can be stored within disks, memory cards, deleted data,
 5 II remnant data, slack space, and temporary or pe1manent files contained on or in the cellular
 611 telephone. Specifically, searches of cellular telephones may yield evidence:
 7
                a.    tending to indicate efforts to import methamphetamine, or some other
 8                    federally controlled substance, from Mexico into the United States;
 9
                b.    tending to identify accounts, facilities, storage devices, and/or services-
10                    such as email addresses, IP addresses,· and phone numbers-used to
                      facilitate the importation of methamphetamine, or some other federally
11
                      controlled substance, from Mexico into the United States;
12
                C.    tending to identify c·o-conspirators, criminal associates, or others involved
13
                      in importation of methamphetamine, or some other federally controlled
14                    substance, from Mexico into the United States;
15
                d.    tending to identify travel to or presence at locations involved in the
16                    importation of methamphetamine, or some other federally controlled
                      substance, from Mexico into the United States, such as stash hou~es, load
17
                      houses, or delivery points;
18
                e.    tending to identify the user of, or persons with control over or access to,
19
                      the Target Device; and/or
20
                f.    tending to place in context, identify the creator or recipient of, or establish
21
                      the time of creation or receipt of communications, records, or data involved
22                    in the activities described above.
23
                              FACTS SUPPORTING PROBABLE CAUSE
24
                8.    On August 2, 2D19, at approximately 9:00 a.m., defendant Sheena HANSCEL
25   11
          ("Defendant") applied for pennission to enter the United States at the San Ysidro Port of
26 II Entry. Defendant was the driver, registered owner, and sole occupant of a 2006 Honda ,
27 Accord. Defendant wa.s referred for secondary inspection, and Customs and Border
28 Protection Officers discovered 11_2 packages concealed within_the front bumper, all four

                                                      3
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  I II doors, back seat, and spare tire of the Defendant's vehicle. Of the 112 packages, 103 of the
  2 II packages weighed approximately 60.5 kg (133.38 lbs.), and field-tested positive as
  3·11 methamphetamine, while 9 of the packages weighed approximately 10.12 kgs (22.31 lbs.),
  411 and field tested positive as cocaine. Defendant was subsequently anested and the Target
  5 Device was seized from Defendant.
  6           9.    In light of the above facts and my own experience and training, there _is
  7 II probable cause to believe that Defendant was using the Target Device to communicate with
  8 II others to further the importation of illicit narcotics into the United States.
  9 II        10.   In my training and experience, narcotics traffickers may be involved in the
 10 II planning and coordinati~n of a drug smuggling event in the days and weeks prior to an
 11 II event. Co-conspirators are also often unaware of a defendant's anest and will continue to
 12 II attempt to communicate with a defendant after their anest to determine the whereabouts of
 13 II the narcotics. Based on my training and experience, it is also not unusual for individuals, ,
 1411 such as Defendant, to attempt to minimize the amount of time they were involved in their
 15 II smuggling activities, and for the individuals to be involved for weeks and months longer
 16 II than they claim. Accordingly, I request permission to se~rch the Target Device for data
 17 beginning on July 3, 2019 through August 3, 2019, which is the day following Defendant's
· 18 anest

 19                                        METHODOLOGY
20            11.   It is not possible to determine, merely by knowing the cellular telephone's
2111 make, model and serial number, the nature and types of services to which the device is
22 II subscribed and the nature of the data stored on the device. Cellular devices today can be
23 II simple cellular telephones and text message devices, can include cameras, can serve as ,
24 11 personal digital assistants and have functions such as calendars and full address books and
25 II can be mini-computers allowing for electronic mail services, web services and rudimentary
26 II word processing. An increasing number of cellular service providers now allow for their
27 II subscribers to access their device over the internet _and remotely destroy all of the data
28 II contained on the device. F9r that reason,' the device may only be powered in a secure ,

                                                    4
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 1 II enviromnent or, if possible, started in "flight mode" which disables access to the network.
 211 Unlike typical computers, many cellular telephones do not have hard drives or hard drive
 3 II equivalents and store infmmation in volatile memory within the device or in memo"ry cards
 4 II inse1ied into the device. Current technology provides some solutions for acquiring some of
 5 II the data stored in some cellular telephone models using forensic hardware and software.
 611 Even if some of the stored information on the device may be acquired for~nsically, not all
 711 of the data subject to seizure may be so acquired. For devices that are not subject to forensic
 8 II data acquisition or that have potentially relevant data stored that is not subject to such
 911 acquisition, the examiner must inspect the device manually and record the process and the
10 II results using digital photography. This process is time and labor intensive and may take
11 II weeks or longer.
12 11        12. · Following the issuance of this warrant, I will collect the subject cellular
13 II telephone and subject it to analysis. All forensic analysis of the data contained within the
1411 telephone and its memory cards will employ search protocols directed exclusively to the
15 II identification and extraction of data within the scope of this warrant.
16           13.   Based on the foregoing, identifying and extracting data subject to seizure
17 II pursuant to this warrant may require a range of data analysis techniques, including manual
18 II review, and, consequently, may take weeks or months. The personnel · conducting the
19 II identification and extraction of data will complete the analysis within 90 days, absent
20 II fiuiher application to this court.
21 II                     PRIOR ATTEMPTS TO OBTAIN THIS EVIDENCE
22           14.   At the time of Defendant's entry into the United States, law enforcement
23 II officers conducted a manual review of the Target Device.          I have not included any
2411 information obtained from that manual review in this affidavit and submit that probable
25 II cause exists to search the Target Device without that information.
26 II
27 II
28 II

                                                  5
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,




    1                                             CONCLUSION
    2              15.     Based on the facts and information set forth above, there is probable cause to
    3 II believe that a search of the Target Device will yield evidence of Defendant's violations of
    411 Title 21, United-States Code, Sections 952 and 960.
    5              16.     Because the Target Device was seized at the time of Defendant's arrest and
    6 II has been securely stored since that time, there is probable cause to believe that such
    7 II evidence continues to exist on the Target Device. As stated above, I believe that the
    8 II appropriate date range for this search is from July 3, 2019 through August 3, 2019.
    9              17.     Accordingly, I request that the Court issue a warrant authorizing law
10 II enforcement to search the item(s) described in Attachment A and seize the items listed in
11      II Attachment Busing the above-described methodology.
12
13 II I swear the foregoing is true and correct to the best of my knowledge and belief.
14
15
16
17
        11   Subscribed and sworn to before me this     ~'      day of September, 2019.
18
19
20
             Hon. F .A.   V'll~
21                            agistrate Judge
22
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                                                         6
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                                ATTACHMENT A

                          PROPERTY TO BE SEARCHED

The following property is to be searched:

       Apple iPhone
      Seized as FP&F No. 2019-2540-001958
      (the "Target Device")

The Target Device is currently in the possession of Homeland Security Investigations,
9495 Customhouse Plaza, San Diego, CA 92154.
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                                  ATTACHMENT B

                                ITEMS TO BE SEIZED

      Authorization to search the cellular telephone described in Attachment A
includes the search of disks, memory cards, deleted data, remnant data, slack space, and
temporary or permanent files contained on or in the cellular telephone for evidence
described below. The seizure and search of the cellular telephone shall follow the
search methodology described in the affidavit submitted in support of the warrant.

      The evidence to be seized from the cellular telephone will be electronic records,
communications, and data such as emails, text messages, chats and chat logs from
various third-party applications, photographs, audio files, videos, and location data, for
the period of July 3, 2019 through August 3, 2019:

      a.     tending to indicate efforts to impmi methamphetamine, or some other
             federally controlled substance, from Mexico into the United States;

      b.     tending to identify accounts, facilities, storage devices, and/or services-
             such as email addresses, IP addresses, and phone numbers-used to
             facilitate the importation of methamphetamine, or some other federally
             controlled substance, from Mexico into the United States;           ·

      c.     tending to identify co-conspirators, criminal associates, or others involved
             in importation of methamphetamine, or some other federally ·controlled
             substance, from Mexico into the United States;

      d.     tending to identify travel to or presence at locations involved in the
             importation of methamphetamine, or some other federally controlled
             substance, from Mexico into the United States, such as stash houses, load
             houses, or delivery points;

      e.     tending to identify the user of, or persons with control over or access to,
             the Target Device; and/or

      f.     tending to place in context, identify the creator or recipient of, or establish
             the time of creation or receipt of communications, records, or data involved
             in the activities described above;

which are evidence of violations ofTitle 21 , United States Code, Sections 952 and 960.
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AO 93 (Rev. 11/13) Search and Seizure Warrant



                                           UNITED STATES DISTRICT COURT
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                                                                             for the                                                            '(_.)1....::,.1 ~
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                                                               Southern District of California
                                                                                                                                                             ,'r·
                                                                                                                                                                 j.
                  In the Matter of the Search of                                )
              (Briefly describe the property to be searched                     )
               or identify the person by name and address)                      )      Case No.
                            Apple iPhone                                        )                         ~19MJ41 •64
               Seized as FP&F No. 2019-2540-001958                              )
                                                                                                                                                           ;:1
                          ("Target Device")                                     )             ~~
                                                                                                                                                           .fJ
                                                                                              :f
                                                  SEARCH AND SEIZURE WARRANT
To:       Any authorized law enforcement officer
         An application by a federal law enforcement officer or an attorney for the government requests the search
of the following person or property located in the          Southern            District of               California
(identify the person or describe the property to be searched and give its location):

      See Attachment A, incorporated herein by reference.




        I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):
      See Attachment B, incorporated herein by reference.




          YOU ARE COMMANDED to execute this warrant on or before            r      2-o JC,         6c           'fz
                                                                                                 (not to exceed 14 d~ys)
       r/ in the daytime 6:00 a.m. to
                          10:00 p.m.     0 ~t any time in the day or night because good cause has been established.

        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.
        The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to                  The Honorable F.A. Gossett
                                                                                                           (United States Magistrate Judge)

     0 Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate bo:A)
     0 for _ _ days (not to exceed 30) 0 until, the facts justifying, the later specific date of


                                   9/;..,j,...,,;             9: ,;o;/ft.                                   ~                                                         -----
                                                                                                            ~
Date and time issued:

                             San Diego, CA                                                        Hon. F.A. Gossett, U.S. Magistrate Judge
City and state:
                                                                                                                        Printed name and title
           Case 3:19-mj-05094-AGS Document 1 Filed 11/15/19 PageID.16 Page 16 of 18


AO 93 (Rev. 11/13) Search and Seizure Warrant (Page 2)

                                                                    Return
Case No.:                               IDate and time warrant executed:         ICopy of warrant and inventory left with:
Inventory made in the presence-of:

Inventory of the property taken and name of any person(s) seized:




                                                                 Certification


        I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.



Date:
                                                                                         Executing officer's signature


                                                                                            Printed name and title
Case 3:19-mj-05094-AGS Document 1 Filed 11/15/19 PageID.17 Page 17 of 18




                                ATTACHMENT A

                          PROPERTY TO BE SEARCHED

The following property is to be searched:

       Apple iPhone
      Seized as FP&F No. 2019-2540-001958
      (the "Target Device")

The Target Device is currently in the possession of Homeland Security Investigations,
9495 Customhouse Plaza, San Diego, CA 92154.
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                                  ATTACHMENT B

                                ITEMS TO BE SEIZED

      Authorization to search the cellular telephone described in Attachment A
includes the search of disks, memory cards, deleted data, remnant data, slack space, and
temporary _or pe1manent files contained on or in the cellular telephone for evidence
described below. The seizure and search of the cellular telephone shall follow the
search methodology described in the affidavit submitted in support of the wan-ant.

      The evidence to be seized from the cellular telephone will be electronic records,
communications, and data such as emails, text messages, chats and chat logs from
various third-party applications, photographs, audio files, videos, and location data, for
the period of July 3, 2019 through August 3, 2019:

      a.     tending to indicate efforts to impo1t methamphetamine, or some other
             federally controlled substance, from Mexico into the United States;

      b.     tending to identify accounts, facilities, storage devices, and/or services-
             such as email. addresses, IP addresses, and phone numbers-used to
             facilitate the importation of methamphetamine, or some other federally
             controlled substance, from Mexico into the United States;

      c.     tending to identify co-conspirators, criminal associates, or others involved
             in ·impmtation of methamphetamine, or some other federally controlled
             substance, from Mexico into the United States;

      d.     tending to identify travel to or presence at locations involved in the
             importation of methamphetamine, or some other federally controlled
             substance, from Mexico into the United States, such as stash houses, load
             houses, or delivery points;

      e.     tending to identify the user of, or persons with control over or access to,
             the Target Device; and/or

      f.    tending to place in context, identify the creator or recipient of, or establish
            the time of creation or receipt of communications, records, or data involved
            in the activities described above;

which are evidence of violations of Title 21, United States Code, Sections 952 and 960.
